                         Case 8-23-72184-las               Doc 1        Filed 06/20/23           Entered 06/20/23 09:23:16



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CentricFM Solutions Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  118-35 Queens Blvd., Suite 400
                                  Forest Hills, NY 11375
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Queens                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    CentricFM Solutions Inc                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    CentricFM Solutions Inc                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Pacifica CMFM Group LTD                                       Relationship

                                                     District                                 When      6/20/23                Case number, if known      23-72182


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   CentricFM Solutions Inc                                                     Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    CentricFM Solutions Inc                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 20, 2023
                                                  MM / DD / YYYY


                             X   /s/ Chip Zoegall                                                         Chip Zoegall
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Todd E. Duffy                                                         Date June 20, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Todd E. Duffy
                                 Printed name

                                 DuffyAmedeo LLP
                                 Firm name

                                 132 West 31st Street
                                 9th Floor
                                 New York, NY 10001
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 729-5832                Email address      tduffy@duffyamedeo.com


                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name CentricFM Solutions Inc
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Accordant Co                                                                                                                                                      $5,506.25
 325 Columbia
 Turnpike
 Suite 307
 Florham Park, NJ
 07932
 Arch Construction                                                                                                                                             $247,000.00
 Svcs
 121 Elliot St
 Hartford, CT 06114
 Caitol Fire Sprinkler                                                                                                                                             $3,375.13
 Co
 5151 59th Pl
 Woodside, NY 11377
 Daniel Hawkins                                                                                                                                              $1,287,602.58
 C/o Stephen Z.
 Starr, Esq
 Star and Star PLLC
 260 Madison Ave.,
 17th Fl
 New York, NY 10016
 Darana Hybrid Inc                                                                                                                                                 $5,898.00
 903 Belle Ave
 Hamilton, OH 45015
 Electrical Power Sys                                                                                                                                              $9,508.47
 Inc
 17-A Palisades
 Avenue
 Emerson, NJ 07630
 Kwang Lee                                                                                                                                                         $3,000.00
 Construction
 11900 Tac Court
 Manassas, VA 20109
 Michael Raifsnider                                                                                                                                                $1,535.00
 109 Geary Street
 4th Floor
 San Francisco, CA
 94108

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 Debtor    CentricFM Solutions Inc                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Robert LeGrega                                                                                                                                                    $3,863.45
 11 Captains Walk
 Bay Shore, NY
 11706
 Sage                                                                                                                                                                $785.17
 14855 Collections
 Center
 Chicago, IL 60693
 Square Interiors                                                                                                                                                  $8,290.00
 1818 Chicago Dr SW
 Wyoming, MI 49519




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                   Accordant Co
                   325 Columbia Turnpike
                   Suite 307
                   Florham Park, NJ 07932


                   Arch Construction Svcs
                   121 Elliot St
                   Hartford, CT 06114


                   Caitol Fire Sprinkler Co
                   5151 59th Pl
                   Woodside, NY 11377


                   Dag Mobile Aggregate Rec.
                   237 Livingston Ave
                   Lyndhurst, NJ 07071


                   Daniel Hawkins
                   C/o Stephen Z. Starr, Esq
                   Star and Star PLLC
                   260 Madison Ave., 17th Fl
                   New York, NY 10016


                   Darana Hybrid Inc
                   903 Belle Ave
                   Hamilton, OH 45015


                   Electrical Power Sys Inc
                   17-A Palisades Avenue
                   Emerson, NJ 07630


                   Kwang Lee Construction
                   11900 Tac Court
                   Manassas, VA 20109


                   Michael Raifsnider
                   109 Geary Street
                   4th Floor
                   San Francisco, CA 94108


                   Robert LeGrega
                   11 Captains Walk
                   Bay Shore, NY 11706
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               Sage
               14855 Collections Center
               Chicago, IL 60693


               Square Interiors
               1818 Chicago Dr SW
               Wyoming, MI 49519
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                                         United States Bankruptcy Court
                                              Eastern District of New York
 In re   CentricFM Solutions Inc                                                    Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CentricFM Solutions Inc in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Chip Zoegall
22 Bay Drive West
Huntington, NY 11743




  None [Check if applicable]




June 20, 2023                                  /s/ Todd E. Duffy
Date                                           Todd E. Duffy
                                               Signature of Attorney or Litigant
                                               Counsel for CentricFM Solutions Inc
                                               DuffyAmedeo LLP
                                               132 West 31st Street
                                               9th Floor
                                               New York, NY 10001
                                               (212) 729-5832
                                               tduffy@duffyamedeo.com
